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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 20-21553-Civ-Cooke/Goodman
   PATRICK GAYLE, et al.,
         Petitioners-Plaintiffs, on behalf of
         themselves and those similarly situated,

   vs.
   MICHAEL W. MEADE, et al.,
            Respondents-Defendants.
   ___________________________________________/
                              AFFIDAVIT OF MATTHEW C. DATES
                            FOR APPOINTMENT AS SPECIAL MASTER

         I, Matthew C. Dates, declare as follows:
         1. I am a shareholder at Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A. in
            Miami, Florida.

         2. Pursuant to Fed. R. Civ. P. 53(a)(2) and (b)(3), I have reviewed the information provided
            to me related to the matter and to the best of my knowledge and belief I have no known
            relationship to the parties, attorneys, action, or Court and know of no reasons or grounds
            for disqualification under 28 U.S.C. Section 455.

        I certify, under the penalty of perjury, that the foregoing statements herein are true and
   accurate to the best of my knowledge.

   Dated: July 20, 2020                             Respectfully submitted,

                                                    By: /s/ Matthew C. Dates
                                                    MATTHEW C. DATES
                                                    Florida Bar No. 90994
                                                    Email: mdates@stearnsweaver.com
                                                    Secondary; cveguilla@stearnsweaver.com
                                                    STEARNS WEAVER MILLER WEISSLER
                                                     ALHADEFF & SITTERSON, P.A.
                                                    Museum Tower, Suite 2200
                                                    150 West Flagler Street
                                                    Miami, Florida 33130
                                                    Telephone: (305) 789-3200
                                                    Facsimile: (305) 789-3395
                                                    Court Appointed Special Master
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                                   CERTIFICATE OF SERVICE
        I hereby certify that on the 20th day of July, 2020, I electronically filed the foregoing with
   the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
   (NEF) to all counsel of record.

                                                s/Matthew C. Dates
                                                MATTHEW C. DATES
